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      In The United States Court of Federal Claims
                                           No. 12-380C

                                       (Filed: March 8, 2013)
                                             __________

 UNITED LAUNCH SERVICES, LLC,
 and THE BOEING COMPANY,

                         Plaintiffs,

        v.

 THE UNITED STATES,

                         Defendant.
                                            __________

                                             ORDER
                                            __________

       Today a preliminary status conference was held in this case. Participating in the
conference were Carl Nichols, for plaintiffs, and Corinne Niosi, for defendant. Pursuant to
discussions during the conference:

       1.       On or before February 28, 2014, the parties shall complete fact
                discovery;

       2.       On or before March 31, 2014, the parties shall exchange opening
                expert reports;

       3.       On or before May 5, 2014, the parties shall exchange rebuttal expert
                reports;

       4.       On or before May 19, 2014, the parties shall begin taking expert
                depositions;

       5.       On or before June 16, 2014, the parties shall complete expert
                discovery; and

       6.       On or before June 30, 2014, the parties shall file a joint status report
                indicating how this case should proceed, with a proposed schedule as
                appropriate.

       IT IS SO ORDERED.
                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
